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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


Kenneth Bethany,

     Plaintiff                       Case No. 1:17-cv-04018

v.                                   Michael L. Brown
                                     United States District Judge
MSC Weatherly, LLC, MSC
Properties, LCC, and MSC Terra,
LLC,

      Defendants.
________________________________/
                                      


     ORDER GRANTING MOTION TO APPROVE SETTLEMENT
                  AGREEMENT (DKT. 13)

     This matter is before the Court on the Parties’ Joint Motion to

Approve the Settlement Agreement (the “Joint Motion”). (Dkt. 13). The

case involves a claim for unpaid overtime compensation under the Fair

Labor Standards Act.       The Parties have reached a settlement

agreement (“Agreement”).

     In reviewing a settlement of an FLSA private claim, a court must

"scrutiniz[e] the settlement for fairness," and determine that the

settlement is a "fair and reasonable resolution of a bona fide dispute
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over FLSA provisions." Lynn Food Stores v. United States, 679 F.2d

1350, 1352-53 (11th Cir. 1982).       A settlement entered into in an

adversarial context where both sides are represented by counsel "is

more likely to reflect a reasonable compromise of disputed issues." Id.

at 1354.

     Upon review of the terms of the proposed Agreement, including

the amounts to be received by Plaintiff and the attorneys’ fees and costs

to be received by counsel, the Court finds that the Agreement is a fair

and reasonable resolution of the dispute.

     Accordingly, the Court GRANTS the Joint Motion (Dkt. 13) and

APPROVES the Agreement, the terms of which are hereby incorporated

into this Order as the stipulated judgment in this case. (Dkt. 13-1).

The instant action is hereby DISMISSED WITH PREJUDICE.                 The

Court retains jurisdiction to enforce the terms of the Agreement upon

motion of either party. The clerk is DIRECTED to close the case.

     IT IS SO ORDERED.



Dated: February 14, 2018
Atlanta, Georgia
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